Case 1:22-cv-22538-RKA Document 18 Entered on FLSD Docket 10/20/2022 Page 1 of 2




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

                               Case No.: 22-CV-22538-ALTMAN/REID

  Pierce Robertson, et al., on behalf of themselves
  and all others similarly situated,

                 Plaintiffs,                               CLASS ACTION COMPLAINT
  v.
                                                            JURY DEMAND
  Mark Cuban, Dallas Basketball Limited, d/b/a
  Dallas Mavericks, and Stephen Ehrlich,

                 Defendants.
                                                       /

   NOTICE OF FILING IN SUPPORT OF PLAINTIFFS’ RENEWED REQUEST FOR A
                           STATUS CONFERENCE
         In support of their Renewed Request for Status Conference, [ECF No. 17], Plaintiffs give
  notice of filing the fully executed stipulation as entered by the Bankruptcy Court, attached as
  Exhibit A.


  Dated: October 20th, 2022.                          Respectfully submitted,

   By: /s/ Adam M. Moskowitz                          By: /s/ Stephen Neal Zack
   Adam M. Moskowitz                                  Stephen Neal Zack
   Florida Bar No. 984280                             Florida Bar No. 145215
   adam@moskowitz-law.com                             Hon. Ursula Ungaro (Ret.)
   Joseph M. Kaye                                     Florida Bar No. 200883
   Florida Bar No. 117520                             BOIES SCHILLER FLEXNER LLP
   joseph@moskowitz-law.com                           100 SE 2nd St., Suite 2800
   Barbara C. Lewis                                   Miami, FL 33131
   barbara@moskowitz-law.com                          Office: 305-539-8400
   Florida Bar No. 118114                             Fax: 305-539-1307
   THE MOSKOWITZ LAW FIRM, PLLC                       szack@bsfllp.com
   2 Alhambra Plaza, Suite 601                        uungaro@bsfllp.com
   Coral Gables, FL 33134
   Telephone: (305) 740-1423

   Co-Counsel for Plaintiffs and the Class            Co-Counsel for Plaintiffs and the Class
Case 1:22-cv-22538-RKA Document 18 Entered on FLSD Docket 10/20/2022 Page 2 of 2

                                                              Case No.: 22-CV-22538-ALTMAN/REID


                                     CERTIFICATE OF SERVICE

            I hereby certify that a true and correct copy of the forgoing was filed on October 20, 2022,
  with the Court via CM/ECF system, which will send notification of such filing to all attorneys of
  record.


                                                         By: /s/ Adam M. Moskowitz
                                                              Adam M. Moskowitz
                                                              Florida Bar No. 984280




                                                     2
